          Case 1:18-cv-12358-LTS Document 36 Filed 04/04/19 Page 1 of 4



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS
___________________________________________
                                             )
AIRBNB, INC.                                 )
                                             )
            Plaintiff,                       )
                                             )   Civil Action No.
v.                                           )   1:18-cv-12358-LTS
                                             )
CITY OF BOSTON,                              )
                                             )
            Defendant.                       )
___________________________________________ )

                        NOTICE OF SUPPLEMENTAL AUTHORITY

       In advance of Monday’s hearing, Airbnb hereby submits this notice of supplemental

authority to notify the Court of the Second Circuit’s recent decision in Herrick v. Grindr, LLC,

2019 WL 1384092 (2d Cir. Mar. 27, 2019). Herrick is relevant to Airbnb’s arguments regarding

Section 9-14.10(b) (compelled agreements requiring listing removal) and Section 9-14.9(a)1

(prohibition on platform accepting a fee for booking a short-term rental) of the City’s Ordinance.

       In Herrick, the Second Circuit affirmed the district court’s holding that Grindr is entitled

to immunity under the Communications Decency Act (CDA). Grindr is a web-based dating

application that “matches users based on their interests and location.” Id. at *1. Plaintiff Herrick

sued Grindr after Herrick’s ex-boyfriend created Grindr fake profiles impersonating Herrick and

directing other users to Herrick’s home and workplace. Herrick raised several tort claims,

alleging that Grindr “lacks safety features to prevent impersonating profiles and other dangerous

conduct.” Id. In particular, as the district court explained:



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  While preparing for Monday’s hearing, Airbnb noticed that its reply brief at times incorrectly
referred to Section 9-14.9(a) as Section 9-14.10(a). See Reply Br. at 1, 5-9, 13. Airbnb
apologizes for any confusion that this may have caused the Court.
          Case 1:18-cv-12358-LTS Document 36 Filed 04/04/19 Page 2 of 4



       Herrick alleges that Grindr does not incorporate certain safety features that could prevent
       impersonating profiles. Herrick alleges that Grindr does not use “proven and common
       image recognition or duplicate-detection software,” which could be used to search for
       profiles using Herrick's picture. Am. Compl. ¶ 79; see also Am. Compl. ¶ 84 (Grindr
       does not use “PhotoDNA technology” to identify unauthorized photographs). Grindr
       does not run keyword searches on direct messages sent through the app. Am. Compl. ¶¶
       80, 83. Grindr does not have the ability to search for IP addresses, MAC addresses, and
       ICC numbers or block the use of spoofing, proxies, and virtual private networks (VPNs),
       all of which might prevent new impersonating accounts. Am. Compl. ¶ 82. And Grindr
       could use a technique called “geofencing” to determine when an impersonating account is
       associated either with Herrick’s address or the address of his former boyfriend. Am.
       Compl. ¶ 85.
Herrick v. Grindr, LLC, 306 F.Supp.3d 579, 585 (S.D.N.Y. 2018).

       As relevant here, the Second Circuit held that Herrick’s claims treat Grindr as the

publisher or speaker of third-party content. Adopting and applying the First Circuit’s CDA test,

as set forth in Jane Doe No. 1 v. Backpage.com, LLC, 817 F.3d 12 (1st Cir. 2016), and Universal

Commc’n Sys., Inc. v. Lycos, Inc., 478 F.3d 413 (1st Cir. 2007), the court of appeals rejected

Herrick’s assertion that “his claims are premised on Grindr’s design and operation of the app

rather than on its role as a publisher of third-party content.” Herrick, 2019 WL 1384092, at *3.

Instead, it held that “Grindr’s alleged lack of safety features ‘is only relevant to Herrick’s injury

to the extent that such features would make it more difficult for his former boyfriend to post

impersonating profiles or make it easier for Grindr to remove them.’” Id. (quoting Herrick, 306

F.Supp.3d at 591). In those circumstances, the Second Circuit held that Section 230 of the CDA

barred Herrick’s claims.

       In addition to adopting the First Circuit’s design-and-operation test, the Second Circuit

also applied the well-established test for whether a platform is an “information content provider”

under the CDA. It explained that “under § 230 an [interactive computer service] will not be held

responsible unless it assisted in the development of what made the content unlawful and cannot

be held liable for providing ‘neutral assistance’ in the form of tools and functionality available
           Case 1:18-cv-12358-LTS Document 36 Filed 04/04/19 Page 3 of 4



equally to bad actors and the app’s intended users.” Id. at *3 (internal quotation marks omitted

and emphasis added). As applied to Herrick, the Second Circuit found that certain services (e.g.,

“Grindr’s matching and geolocation features,” id.) were neutral tools available to all users and

thus did not transform the website into an information content provider. Id.

       Airbnb will be prepared to discuss the application of Herrick to this case at Monday’s

hearing.



Dated: April 4, 2019
                                                 Respectfully submitted,


                                                  AIRBNB, INC.

                                                  By its attorneys,

                                                  /s/ Howard M. Cooper

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          Case 1:18-cv-12358-LTS Document 36 Filed 04/04/19 Page 4 of 4



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                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was sent via the Court’s electronic filing
system, and served to all counsel of record on April 4, 2019.

                                                     /s/ Christian G. Kiely
                                                     Christian G. Kiely
